Case 1:25-cv-00550-TAD-JPM         Document 12       Filed 05/01/25     Page 1 of 3 PageID #:
                                          97



                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                  ALEXANDRIA DIVISION


V.M.L, A MINOR CHILD, ET AL                *        CASE NO. 1:25-CV-00550 SEC. P
                                           *
VERSUS                                     *        DISTRICT JUDGE DOUGHTY
                                           *
MELLISSA B. HARPER, ET AL                  *        MAGISTRATE JUDGE PEREZ-MONTES


                      DEFENDANTS’ MOTION TO SUBSTITUTE COUNSEL

       COMES NOW, Defendants, Mellissa Harper, Kenneth Genalo, Todd Lyon, Krisi Noem,

and Pamela Bondi, each in his or her official capacity, by and through Alexander C. Van Hook,

Acting United States Attorney for the Western District of Louisiana, and Karen J. King, Assistant

United States Attorney, and respectfully move the Court for an order directing that Karen J. King

and Alanna T. Duong, of the United States’ Office of Immigration Litigation, be substituted for

Joseph McCarter and Bichngoc T. Do, as counsel for the Defendants in this proceeding.

                                               1.

       The Emergency Motion for Temporary Restraining Order filed in this matter is set for

hearing before this honorable Court on May 16, 2025, beginning at 9:00 a.m.

                                               2.

       On April 25, 2025, attorneys Joseph McCarter and Bichngoc T. Do. each filed an

Appearance of Counsel on behalf of Defendants [Docs. 3 and 4].



                                               3.
Case 1:25-cv-00550-TAD-JPM          Document 12        Filed 05/01/25      Page 2 of 3 PageID #:
                                           98



       Assistant United States Attorney Karen J. King should be substituted as lead trial counsel

and can be noticed with pleadings and orders at 800 Lafayette Street, Suite 2200, Lafayette, LA

70501; Telephone: (337) 262-6618; Facsimile: (337) 262-6693; Email: karen.king@usdoj.gov.

                                                 4.

       United States’ Office of Immigration Litigation Attorney, Alanna T. Duong should be

substituted as co-counsel and can be noticed with pleadings and orders at 450 5th Street, NW,

Washington, DC 20530; Telephone: (202) 305-7040; Email: alanna.duong@usdoj.gov.

                                                 5.

       Substitution of counsel will not delay the progress of this proceeding.

       WHEREFORE, Defendant prays that this Honorable Court allow Karen J. King to be

substituted as lead counsel and Alanna T. Duong as co-counsel and that representation by Joseph

McCarter and Bichngoc T. Do be terminated as counsel of record for Defendants.

                                             Respectfully Submitted,

                                             U.S. DEPARTMENT OF JUSTICE
                                             OFFICE OF IMMIGRATION LITIGATION

                                     By:     /s/ Joseph A. McCarter_____________
                                             JOSEPH McCARTER (MD BAR NO. 2311290014)
                                             P.O. Box 878 / Ben Franklin Station
                                             Washington, DC 20044
                                             Telephone: (202) 746-8537
                                             Email: Joseph.A.McCarter@usdoj.gov

                                             /s/ Bichngoc T. Do
                                             BICHNGOC T. DO (CA BAR NO. 350755)
                                             P.O. Box 878 / Ben Franklin Station
                                             Washington, DC 20044
                                             Telephone: (202) 742-7093
                                             Email: Bichngoc.T.Do@usdoj.gov
                                                             &




                                                 2
Case 1:25-cv-00550-TAD-JPM   Document 12    Filed 05/01/25    Page 3 of 3 PageID #:
                                    99



                                   ALEXANDER C. VAN HOOK

                                   ACTING UNITED STATES ATTORNEY
                                   WESTERN DISTRICT OF LOUISIANA

                             By:   /s/ Karen J. King ___________
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                                   U.S. DEPARTMENT OF JUSTICE
                                   OFFICE OF IMMIGRATION LITIGATION

                                   /s/ Alanna T. Duong
                                   ALANNA T. DUONG (AZ BAR NO. 031641)
                                   Senior Litigation Counsel
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                                       3
